Page 2

PETITION UNDER 28 U.S.C. § 2254 FOR WRIT OF
HABEAS CORPUS BY A PERSON IN STATE CUSTODY

 

 

 

 

 

 

 

 

 

 

 

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United States District Court District UV U/ U 4 ] 3 ™ fi *
Name (under which you were convicted): Docket or Case No::
FranlC E. Gable YO $2e Ha
Place of Confinement: Prisoner No.:
Creda Slate Prison | Nevada Stele Prisan 44486
Petitioner (include the name under which you were convicted) Respondent (authorized person having custody of petitioner)
. v. cae
Frank E. Gable Max Williams
The Attorney General of the State of
Hardy Myers

PETITION

1. (a) Name and location of court that entered the judgment of conviction you are challenging:

Civeutt Court of the Slate of Cveqorr Marian Com crty
Sale i CveAcia .
(b) Criminal docket or case number (if you know): SS e+} Gor 20 441 2a
2. (a) Date of the judgment of conviction (if you know): “July 14,1441
(b) Date of sentencing: Buia. (Fel (
3. Length of sentence: _| if eboar usithant pac vesle
4. In this case, were you convicted on more than one count or of more than one crime? Yes Q No J
5. Identify all crimes of which you were convicted and sentenced in this case:
Baars vated murder

 

 

 

6. (a) What was your plea? (Check one)
(1) Not guilty ~~ (3) Nolo contendere (no contest} Q
(2) Guilty QO (4) Insanity plea O
(b) If you entered a guilty plea to one count or charge and a not guilty plea to another count or

charge, what did you plead guilty to and what did you plead not guilty to?

 

 

 
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(c) If you went to trial, what kind of trial did you have? (Check one)
Jury we Judge only O
Did you testify at a pretrial hearing, trial, or a post-trial hearing?

Yes QO No wr

Did you appeal from the judgment of conviction?
Yes No QO

If you did appeal, answer the following:

(a) Name of court: Ovedon Court af A ppecd\ Ss -

(b) Docket or case number (if you know):

(c) Result: alf iy wed

(d) Date of result (if you know): _ft ic | 2c, 144 Y

(

e) Citation.to the case (if you know):

 

 

  
 

(f} Grounds raised: e

Pole da Tairly rule

 

 

 

 

(g) Did you seek further review by a higher state court? Yes @ No O
If yes, answer the following:
(1) Name of court: Cj vewit Couyvt of tie leche ct Origen Marion Cau try
(2) Docket or case number (if you know): TOC i ZCXL
(3) Result: atts omed

 

(4) Date of result (if you know): Arco
(5) Citation to the case (if you know):

    

   

(6) Grounds raised: dsyiicd Vee av

 

(h) Did you file a petition for certiorari in the United States Supreme Court? Yes G@ No Q
If yes, answer the following:

(1) Docket or case number (if you know): ?
Page 4
(2) Result: efbimmned

 

(3) Date of result (if you know): dnkuaen ts me
(4) Citation to the case (if you know): simkwycited
10. Other than the direct appeals listed above, have you previously filed any other petitions,
applications, or motions concerning this judgment of conviction in any state court?
Yes ONo W7
11. If your answer to Question 10 was “Yes,” give the following information:
(a) (1) Name of court: Greqain Dunpy enae Céreyt
2) Docket or case number (if you know): gantkiiewia VC-120 4) ALL3YZS~
3) Date of filing (if you know): Uwkiieoui 2 Tuc 23 Zcé5
4) Nature of the proceeding:
)

5) Grounds raised: @ 7 y ee tive assis b rvice at Counsel

 

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(6) Did you receive a hearing where evidence was given on your petition, application, or
motion? Yes & No Q

(7) Result: _part affirmed, sentence Vacated and remanded

(8) Date of result (if you know): _ Dat uuk yews:

(b) If you filed any second petition, application, or motion, give the same information:

1) Name of court:

 

2) Docket or case number (if you know):

 

 

4) Nature of the proceeding:

 

(
(
(3) Date of filing (if you know):
(
(

5) Grounds raised:

 

 

 

 

 
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(6) Did you receive a hearing where evidence was given on your petition, application, or
motion? Yes Q No Q
(7) Result:

 

(8) Date of result (if you know):

 

{c) If you filed any third petition, application, or motion, give the same information:

(1) Name of court:

 

(2) Docket or case number (if you know):

 

(3) Date of filing (if you know):

 

(4) Nature of the proceeding:

 

(5) Grounds raised:

 

 

 

 

 

 

 

 

 

(6) Did you receive a hearing where evidence was given on your petition, application, or
motion? Yes OQ No O

(7) Result:
(8) Date of result (if you know):

 

 

(d} Did you appeal to the highest state court having jurisdiction over the action taken on your
petition, application, or motion?

(1) First petition: Yes Q No Q

(2) Second petition: YesQ No Q

(3) Third petition: YesQ No Q

(e) If you did not appeal to the highest state court having jurisdiction, explain why you did not:

 

 

 
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12. For this petition, state every ground m which you claim that you are being held in violation of

the Constitution, laws, or treaties of the United States. Attach additional pages if you have more

than four grounds. State the facts supporting each ground.

CAUTION: To proceed in the federal court, you must ordinarily first exhaust (use up) your
available state-court remedies on each ground on which you request action by the federal court.

Also, if you fail to set forth all the grounds in this petition, you may be barred from presenting
ddition n ta later date.

GROUND ONE: |

 

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

   

(b) If you did not exhaust your state remedies on Ground One, explain why:

 

 

 

(c) Direct Appeal of Ground One:
(1) If you appealed from the judgment of conviction, did you raise this issue?

Yes B@ No Q

(2) If you did not raise this issue in your direct appeal, explain why:

 

 

 

(d) Post-Conviction Proceedings:
(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a
state trial court? Yes No Q
(2) If your answer to Question (d)(1) is “Yes,” state:
Type of motion or petition: Pest convicdien relict

Name and location of the court where the motion or petition was filed:

Ci veut Court phate of Qye.acn Wiairizm Coady ‘
Page 7
Docket or case number (if you know): _%9 € {Z¢ 41
Date of the court's decision: _#€6C

Result (attach a copy of the court's opinion or order, if available): adfivmed

 

 

(3) Did you receive a hearing on your motion or petition?
Yes @ No Y
(4) Did you appeal from the denial of your motion or petition?
Yes & No Oo
(5) If your answer to Question (d)(4) is “Yes,” did you raise this issue in the appeal?

Yes &” No 4

(6) If your answer to Question (d)(4) is “Yes,” state:

Name and location of the court where the appeal was filed: Cura tet Coayt A BL ppaal.s

Docket or case number (if you know): 2 45¢ wi DA W825
Date of the court's decision: pwukKveny!

 

Result (attach a copy of the court's opinion or order, if availabie):

 

 

 

(7) If your answer to Question (d)(4) or Question (d)(5) is “No,” explain why you did not raise this

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issue:

 

 

 

(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative

remedies, etc.) that you have used to exhaust your state remedies on Ground One:

 

 

GROUND Two: _Pefeudaut wes dewies cight te testoPy

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
DSeuse counsel filed be ttt

Jelalfe iv Ausilt phases pce ptian of the trial Kuas at

Luawilling die veaive bes wight dp dest) Py Db bos Ge behalf

 
 
 

 
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(b) If you did not exhaust your state remedies on Ground Two, explain why:

 

 

 

(c) Direct Appeal of Ground Two:

(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes & No Q

(2) If you did not raise this issue in your direct appeal, explain why:

 

 

 

(d) Post-Conviction Proceedings:
(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a
state trial court?
Yes @ NoQ
(2) If your answer to Question (d)({1) is “Yes,” state:
Type of motion or petition: Greens Dppecis Coury

Name and location of the court where the motion aor petition was filed: Sat Leas Sypris ja

Cat f appeals
Docket or case number (if you know): _tuyikKuien31
Date of the court's decision: Winky wien

Result (attach a copy of the court's opinion or order, if available):

 

 

 

(3) Did you receive a hearing on your motion or petition?
Yes & NoQ
(4) Did you appeal from the denial of your motion or petition?

Yes @ No Q

(5) If your answer to Question (d)(4) is “Yes,” did you raise this issue in the appeal?
Yes re No Q
(6) If your answer to Question (d)(4) is “Yes,” state:

Name and location of the court where the appeal was filed: v He COLA

 
Page 9
2
Docket or case number (if you know): wvikuew 1) AseS “
Date of the court's decision: wutvstn 2605 7”

Result (attach a copy of the court's opinion or order, if available):

 

 

 

(7) If your answer to Question (d)(4) or Question (d)(5) is “No,” explain why you did not raise this

issue:

 

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(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative

remedies, etc.) that you have used to exhaust your state remedies on Ground Two:

 

 

 

GROUND THREE: Pz wied Wis vight de duc praecss right 1% be beavd
hy bimeself . tedge Wrest Lathes -to'

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
(DGive the defendaut ave ppre tunity te be Wncewd grr letter dated April
gee 44 in whiz he veg west a heat br ns altern 24s ;_ fa iluves tes

  
 

“4

dp be heavaA on lethi dated i, Lian Post pone tle depel oy

C
Aveut Appye ' riate relief where call Achevse imvestgcdevs prescwled

a letter Ibel Guid Arh Storkel dcliverd bp couv} atone. net gue paved -
(b) If you did not exhaust your state remedies on Ground Three, explain why:

 

 

 

 

 

(c) Direct Appeal of Ground Three:

(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes No O

(2) If you did not raise this issue in your direct appeal, explain why:

 

 

 
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(d) Post-Conviction Proceedings:

(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a
state trial court? Yes or No Q
(2) If your answer to Question (d)(1) is “Yes,” state:
Type of motion or petition: per Coy chin
Name and location of the court where the motion or petition was filed:
Civaint Couyt stale ef Crecjeyr Mavion Couuity
Docket or case number (if you know): _ 44. C Led)
Date of the court's decision: _ 2 A@c-

Result (attach a copy of the court’s opinion or order, if available): afl pe d

 

 

(3) Did you receive a hearing on your motion or petition?
Yes @ No @
(4) Did you appeal from the denial of your motion or petition?
Yes @ No &
(5) If your answer to Question (d)(4) is “Yes,” did you raise this issue in the appeal?

Yes a No ey

(6) If your answer to Question (d)(4) is “Yes,” state:

Name and location of the court where the appeal was filed: Ovedgen Appeal 5 Cou vt

Docket or case number (if you know): _wUuUkigiol
Date of the court’s decision: 1405,

Result (attach a copy of the court's opinion or order, if available): aff tua in pet /

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(7) If your answer to Question (d)(4) or Question (d) (5) is “No,” explain why you did not raise this

issue:

 

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Other Remedies: Describe any other procedures (such as habeas corpus, administrative

remedies, etc.) that you have used to exhaust your state. remedies on Ground Three:

 

 
Page 11

GROUND Four: Dndichuend on che Acfendant was Chavaed. was
imvalid fv Fellasnug ve asous .

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
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pres <cutor ewplesed lt dept. of wast £¢ purliceh was Tuvelied in the
inves! tegen) vai of the Francke hemiccde Bird Sheuld 1 ex Cutsed «
(® Ovehou shade police eSfice Williaus Diervee wes pev ts ted da it
jv on de Aviad pied puanecd ings Wialad ina OKS 16.650 (2)

 
   

 

 

(b) If you did not exhaust your state remedies on Ground Four, explain why:

 

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(c) Direct Appeal of Ground Four:

(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes &~ No Q

(2) If you did not raise this issue in your direct appeal, explain why:

 

 

(d) Post-Conviction Proceedings:
(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a
state trial court? Yes BW No Q
(2) If your answer to Question (d)(1) is “Yes,” state:
Type of motion or petition: geat couvoelien 4g ppces|
Name and location of the court where the motion or petition was filed:
__Feaiaelatt Civcuit Covyt sdde af Oveden Wicvieows / en Mavi Levert
Docket or case number (if you know): 44¢ 1Z69 |
Date of the court’s decision: _ 2460

Result (attach a copy of the court’s opinion or order, if available): ned Gwe [ | able

 

 

 

(3) Did you receive a hearing on your motion or petition?
Yes @” No O

(4) Did you appeal from the denial of your motion or petition?

Yes O No O
13.

14.

Page 12
(5) If your answer to Question (d)(4) is “Yes,” did you raise this issue in the appeal?
Yes @No O

(6) If your answer to Question (d)(4) is “Yes,” state:

Name and location of the court where the appeal was filed: Cvegen jj ppced 5 Cor vi

Docket or case number (if you know): yk viz 9
Date of the court's decision: Z¢ys
Result (attach a copy of the court’s opinion or order, if available):

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(7) If your answer to Question (d)(4) or Question (d) (5) is “No,” explain why you did not raise this

issue:

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Other Remedies: Describe any other procedures (such as habeas corpus, administrative

remedies, etc.) that you have used to exhaust your state remedies on Ground Four:

 

 

 

 

Please answer these additional questions about the petition you are filing:

(a) Have all grounds for relief that you have raised in this petition been presented to the highest
state court having jurisdiction? Yes Q No @&
If your answer is “No,” state which grounds have not been so presented and give your

reason(s) for not presenting them: _4¥ vtec: 4 Jasuc £x wat facta

ineffective assistance of roruncel failed de Ea) appeal —

woltee aa timely waavuer

(b) Is there any ground in this petition that has not been presented in some state or federal

 

 

 

 

court? If so, which ground or grounds have not been presented, and state your reasons for

not presenting them:

 

 

 

Have you previously filed any type of petition, application, or motion in a federal court regarding

the conviction that you challenge in this petition? Yes O No we
Ft Clam of Relief

 

 

Petitioner Gable alleges thet he was denied effective assistance
of app ellate counsal . coungel facled de:

i, Prepevly Avid aded nately ayquc all igstcs rarsed by focal
Counse), tu pavticulav the ducal couvt Fatled te alles pel tieners attorney

le presen} evidence tat Timethy Netividad sud teu Couvse weve Mvelued
iM due muvder of Michael Frau cKe:

As Prepevly VASE om Appeal that dhe indicdment was in Vielahon af
CRS -10.65002) because Fevevicsy Thomas Denney was @ caveer prosrcucker
ewipleyed ley dept. of Justice fev stele of breqon aud because uncutherized

peveens wee “ailoiced te sit ivi durvne Avavd jury tes Hime uy :

Jy clavm ef velve¢

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Pclrlieicy Gable alleges that he was denied due process For thee
f.. tlen vie) PCADCIS .
lL, The presee Weis Bestwick cid Ueare failed de dis clese exceelpetery

evidence aud Ruled te Atsclese plea aqreewrercls ov premises -

Peliloeney Calte requests that th03 court reverse Wvs convielien

\yacate hos Seuyevce Aud ye lease atm Noi cresdady ?
15.

16.

17.

Page 13
If “Yes,” state the name and location of the court, the docket or case number, the type of
proceeding, the issues raised, the date of the court’s decision, and the result for each petition,

application, or motion filed. Attach a copy of any court opinion or order, if available.

 

 

 

 

 

 

Do you have any petition or appeal now pending (filed and not decided yet) in any court, either

state or federal, for the judgment you are challenging? YesQ No
If “Yes,” state the name and location of the court, the docket or case number, the type of

proceeding, and the issues raised.

 

 

 

 

Give the name and address, if you know, of each attorney who represented you in the following
stages of the judgment you are challenging:
(a) At preliminary hearing: Rebet Abel aud stelhu For kel

addyess uvkvenm trp we!

(b) At arraignment and plea: overt ht be { aud ale hu st av ke l

(c) At trial: Ralewt Adel amd Jehu Si oxv kel

 

 

(d) At sentencing: habeid VUbct sud Fp ym Stov Kel

 

(e) On appeal: wet sive of hie VGiwte

 

(f) In any post-conviction proceeding: Ke int I ad Lew Baker GC} ae Oyeqon

 

(g) On appeal from any ruling against you in a post-conviction proceeding:

Devid Celuch Pevtend

 

Do you have any future sentence to serve after you complete the sentence for the judgment that
you are challenging? Yes No oO
Page 14

(a) If so, give name and location of court that imposed the other sentence you will serve in the

future: te, Fedeval Crit heuse Poytleaud Oveciov

 

(b) Give the date the other sentence was imposed: Seok _ 44 2
{c} Give the length of the other sentence: LOurs. cs
(d) Have you filed, or do you pian to file, any petition that challenges the judgment or sentence to
be served in the future? Yes OQ No @~

18. TIMELINESS OF PETITION: If your judgment of conviction became final over one year ago, you
must explain why the one-year statute of limitations as contained in 28 U.S.C. § 2244(d) does not

bar your petition.*

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

* The Antiterrorism and Effective Death Penalty Act of 1996 (‘AEDPA”) as contained in 28 U.S.C.
§ 2244(d) provides in part that:

(1) A one-year period of limitation shall apply to an application for a writ of habeas corpus by a
person in custody pursuant to the judgment of a State court. The limitation period shall run
from the latest of —

(continued...)
Page 15

Therefore, petitioner asks that the Court grant the following relief: Wace

auc sees aud release pelitiouer / fedev ews juny

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id
tC

 

or any other relief to which petitioner may be entitled.

 

Signature of Attorney (if any)

I deciare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct
and that this Petition for Writ of Habeas Corpus was placed in the prison mailing system on
Maych l@ A021 (month, date, year).

Executed (signed) on Naz hi be. Zot) (date).

aa Ie NalsLe

Signature of Petitioner

 

*(,..continued)

(A) the date on which the judgment became final by the conclusion of direct review or the
expiration of the time for seeking such review;

(B) the date on which the impediment to filing an application created by State action in
violation of the Constitution or laws of the United States is removed, if the applicant was
prevented from filing by such state action;

(C) the date on which the constitutional right asserted was initially recognized by the
Supreme Court, if the right has been newly recognized by the Supreme Court and made
retroactively applicable to cases on collateral review; or

(D) the date on which the factual predicate of the claim or claims presented could have been
discovered through the exercise of due diligence.

(2) The time during which a properly filed application for State post-conviction or other collateral

review with respect to the pertinent judgment or claim is pending shall not be counted toward
any period of limitation under this subsection.
7 . yd
prank E. Gable

Petitianer-

N65 Case No.

Max willrams

Creqen de pt . Corrections

Defenda wt
| [.
Comes new the above named petitioner pre-se and
respectfully Files this motion secking appointment at
Couvt appointed Counsel,

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Pelitioner is rodigent and uvuable te alfard oy attain
counsel en his oun, wherelare , Peditioner prays dhs caruyt

Foy- aw oerdcy appeint ing Coungse |:

Respect fu | ly submitted

Decdled Miwzh le, 2407 ate ¢ . Yalsie,
Frank Ee, Gable

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Certificate of Sevvice

 

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Respectful 4 Submitted

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